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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF FLORIDA
                                           Tallahassee Division


                JANE DOE, individually and on behalf
                of her minor daughter, SUSAN DOE,
                et al.,
                                                                    Case No. 4:23-cv-00114-RH-MAF
                                      Plaintiffs,
                               v.

                JOSEPH A. LADAPO, M.D., in his
                official capacity as Florida’s Surgeon
                General of the Florida Department of
                Health, et al.,

                                      Defendants.


                          DECLARATION OF OLIVIA NOEL IN SUPPORT OF
                       PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                      I, Olivia Noel,1 hereby declare and state as follows:

                      1.     I am over the age of 18, of sound mind, and in all respects competent

            to testify. I have personal knowledge of the information contained in this Declaration

            and would testify completely to those facts if called to do so.

                      2.     I am 26 years old, I am a Florida resident, and I am a plaintiff in this

            Action.

                      3.     I am a woman and I am also transgender. Although I was incorrectly

            assigned the sex male at birth, my gender identity is female. I experience and have

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                My legal name is Jae Olivia Noel, but Olivia is the name that I use.

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            been diagnosed with gender dysphoria due to the significant distress caused by the

            disconnect between my sex assigned at birth, along with some of my primary and

            secondary sex characteristics, and my gender identity.

                     4.      I began receiving transition-related care in May of 2016, when I was 19

            years old. I initiated care at the UF Health multi-disciplinary youth gender clinic

            with Dr. Janet Silverstein, M.D., the pediatric endocrinologist leading the clinic at

            that time. I had multiple appointments prior to being prescribed any medication as

            treatment for my gender dysphoria, and during the appointments I met with a mental

            health provider, an endocrinologist, and other members of their treatment team.

                     5.      Prior to starting me on hormone therapy, I was required to meet with a

            mental health provider who did a full assessment to determine my readiness for

            hormone therapy treatment.

                     6.      I continued to receive my care from the UF Health youth gender clinic

            until I was 21 years old, at which time I was referred to another UF Health

            endocrinologist who specializes in adult care, Dr. Srihari.

                     7.      I then moved to Seattle, Washington and continued my treatment with

            a provider there during 2022.

                     8.      When I moved back to Florida in March of this year, after being on

            estrogen for seven years, I established care at Planned Parenthood with a nurse




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            practitioner. I also established mental health care with a physician assistant –

            Certified (PA-C).

                     9.      I recently learned that my chosen and trusted provider at Planned

            Parenthood would no longer be able to provide my care, due to SB 254.

                     10.     I have less than one month left of my estrogen, and I am unable to get

            an appointment with a physician to prescribe my necessary care once that runs out.

            I am concerned about my health and wellbeing if I am forced to go without my

            hormones. Estrogen is an essential part of the medical treatment for my gender

            dysphoria. Without it, I will experience the clinically significant distress that disrupts

            my daily life.

                     11.      As set forth, I will run out of estrogen within a month’s time. I know

            that the nurse practitioner at Planned Parenthood included refills as part of my last

            prescription. However, I believe that because of Florida law, I will be unable to get

            them because pharmacies in Florida are refusing to fill scripts written by nurse

            practitioners.

                     12.     I have not been able to establish care with a physician, and I recently

            lost my job and my health insurance coverage, which was provided by my employer.

            Without health insurance, Planned Parenthood is the only place I am aware of where

            I can afford to receive my gender transition-related care. I have asked Planned




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            Parenthood and they have told me very clearly that they will not continue providing

            my needed care.

                     13.     I tried but was unable to make an appointment with my former

            endocrinologist at UF Health. He also informed me that SB 254 was impacting his

            practice because, like my current provider, it functions primarily through nurse

            practitioners.

                     14.     I also reached out to my former medical provider in Seattle,

            Washington to see if I could continue to receive my transition-related care from

            them. They said I could not unless I travel to Washington, which I cannot afford.

                     15.     I am scared and concerned that I will imminently not be able to receive

            the health care that I need. I moved back to Florida because this is where my whole

            life is – my family my friends, my school - I’ve always considered Florida to be my

            home. I am afraid to stay here if I cannot access my needed medical care, but I also

            cannot leave at this time. Hormone therapy enables me to comfortably live as a

            woman, which I have done throughout my adulthood. Without it, I will experience

            the debilitating effects of untreated gender dysphoria and face serious disruption in

            my life.

                     16.     Even if I could establish a relationship with a medical provider, which

            I have been unable to do, the barriers that the Boards of Medicine put in place with

            the new required consent forms will be an additional obstacle to accessing the care



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            I need. I do not have health insurance, and some of the requirements will be

            impossible for me to meet. For example, the requirement that the psychological and

            social evaluation be “performed by a Florida licensed board-certified psychiatrist or

            a Florida licensed psychologist” creates a hurdle to care for me that I cannot

            overcome. Further, I worry that providers could use my diagnoses of anxiety,

            depression, and ADHD as a basis to deny me care, due to the language about

            “psychological comorbidities that interferes with the diagnostic work-up or

            treatment” creating barriers to care. I also cannot meet the criteria in the new consent

            forms that “may be recommended” by a prescribing physician, such as suicide risk

            assessments, bone density (DEXA) scans, annual mental health assessments by a

            board-certified Florida licensed psychiatrist or psychologist, and more because I do

            not have doctors to provide them and I cannot afford them if I did. Even if I had

            health insurance, these burdensome requirements are beyond what is covered by my

            prior health insurance plans, and would result in me being unable to access care.

                     17.     SB 254, and the Boards’ Emergency Rules and Informed Consent

            forms stemming from SB 254, have created significant obstacles to accessing care

            for me and for so many others. My chosen, trusted medical provider cannot

            prescribe my estrogen without being criminalized and there is not a Florida M.D. or

            D.O. who will prescribe my needed medical care. This feels cruel and inhumane.




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                     I declare under penalty of perjury that the foregoing is true and correct.

            Executed this 24th day of July, 2023.

                                                                 Respectfully Submitted,

                                                                 ________________________

                                                                 Jae Olivia Noel




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